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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                          Magistrate Judge Kathryn A. Starnella

  Civil Action: 23-cv-1463-RMR-KAS                 Date: October 5, 2023
  Courtroom Deputy: Laura Galera                   FTR – Courtroom C204

   Parties:                                             Counsel:

   AMERICAN MUCKRAKERS, PAC, INC., ET AL.,              Dan Ernst (by video conference)

        Plaintiffs,

   v.

   LAUREN OPAL BOEBERT,                                 Andrew Nussbaum
                                                        Suzanne Taheri
        Defendant.


                                  COURTROOM MINUTES

  MOTION HEARING

  Court in session: 1:32 p.m.

  Court calls case. Appearances of counsel.

  Argument by Mr. Nussbaum and Mr. Ernst as to Representative Lauren Boebert’s
  Motion to Dismiss Under F.R.C.P. 12(b)(6) and/or Special Motion to Dismiss Under
  Colorado’s Anti-Slapp Statute [Dkt. #15].

  Mr. Nussbaum notes that Representative Lauren Boebert’s Motion to Dismiss Under
  F.R.C.P. 12(b)(6) and/or Special Motion to Dismiss Under Colorado’s Anti-Slapp Statute
  [Dkt. #17] was filed in error.

  For the reasons as stated on the record it is:

  ORDERED: Representative Lauren Boebert’s Motion to Stay Discovery [Dkt. #26] is
           DENIED.

  ORDERED: Representative Lauren Boebert’s Motion to Dismiss Under F.R.C.P.
           12(b)(6) and/or Special Motion to Dismiss Under Colorado’s Anti-Slapp
           Statute [Dkt. #17] is STRICKEN due to counsel’s representation that it
           was filed in error.
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  ORDERED: Representative Lauren Boebert’s Motion to Dismiss Under F.R.C.P.
           12(b)(6) and/or Special Motion to Dismiss Under Colorado’s Anti-Slapp
           Statute [Dkt. #15] is TAKEN UNDER ADVISEMENT.

  ORDERED: Plaintiff shall file a Motion for Leave to Amend Complaint no later than
           October 19, 2023.

  Hearing concluded.

  Court in recess:       2:59 p.m.

  Total time in court:    01:27

  *To order transcripts of hearings, please contact either Patterson Transcription
  Company at (303) 755-4536 or AB Litigation Services at (303) 629-8534.
